Case 8:07-cv-01088-CJC-AN   Document 72 Filed 08/17/09   Page 1 of 2 Page ID
                                  #:1908


  1 JENNIE PASQUARELLA, SBN 263241
    Email: jpasquarella@aclu-sc.org
  2 MARK ROSENBAUM, SBN 59940
    Email: mrosenbaum@aclu-sc.org
  3 ACLU FOUNDATION OF
      SOUTHERN CALIFORNIA
  4 1313 West Eighth Street
    Los Angeles, CA 90017
  5 Telephone: (213) 977-9500 x236
    Facsimile: (213) 977-5297
  6
    THOMAS HAROLDSON, SBN 250136
  7 Email: tharoldson@probonolaw.com
    300 South Grand Ave., Suite 3400
  8 Los Angeles, CA 90071-3144
    Telephone: (213) 687-5327
  9 Facsimile: (213) 621-5327
    Attorneys for Plaintiffs
 10
 11                     UNITED STATES DISTRICT COURT
 12              FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13                            SOUTHERN DIVISION
 14
    ISLAMIC SHURA COUNCIL OF         )      Case No. SACV 07-1088 CJC (ANx)
 15 SOUTHERN CALIFORNIA; at al.,     )
                                     )      NOTICE OF MOTION AND MOTION
 16                  Plaintiffs,     )      FOR RECONSIDERATION
                                     )
 17             vs.                  )      Date: September 14, 2009
                                     )      Time: 1:30 p.m.
 18   FEDERAL BUREAU OF              )      Courtroom: 9B
      INVESTIGATION; and UNITED      )
 19   STATES DEPARTMENT OF           )      Hon. Cormac J. Carney
      JUSTICE,                       )
 20                                  )
                     Defendants.     )
 21   ______________________________ )
 22
 23
 24
 25
 26
 27
 28
Case 8:07-cv-01088-CJC-AN     Document 72 Filed 08/17/09       Page 2 of 2 Page ID
                                    #:1909


  1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that on September 14, 2009 at 1:30 p.m. in the
  3 Courtroom of the Honorable Cormac J. Carney, Ronald Regan Federal Building
  4 and U.S. Courthouse, 411 West Fourth Street, Courtroom 9B, Santa Ana,
  5 California, the plaintiffs in this action through their attorneys of record, will move
  6 for reconsideration of the Court’s July 24, 2009 order granting Defendants’
  7 application for leave to file documents under seal and in camera.
  8         This motion is based on the complaint in this action; the accompanying
  9 memorandum of points and authorities; the declaration filed in support of this
 10 motion; all other papers filed in this case; and such other evidence or argument as
 11 may be presented at hearing.
 12         On August 14, 2009, counsel for the Plaintiffs, Jennie Pasquarella,
 13 contacted counsel for Defendants, Marcia Sowles, regarding this motion.
 14 Defendants oppose this motion for reconsideration.
 15
 16 Dated: August 14, 2009                         Respectfully submitted,
 17
 18                                                         /S/
                                                   Mark Rosenbaum
 19                                                ACLU FOUNDATION OF
                                                   SOUTHERN CALIFORNIA
 20
                                                   Attorney for Plaintiffs
 21
 22
 23
 24
 25
 26
 27
 28
                                               1
